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                                                                                              Claims Register Current as of 4/15/2019
                                                                                                        Sorted by Claim Number

CLAIM
 NO.                  NAME                            ADDRESS 1                   ADDRESS 2               ADDRESS 3                  CITY   STATE      ZIP     DATE FILED AMOUNT CLASS(ES) TOTAL AMOUNT        UNSECURED       SECURED      PRIORITY
                                         C/O MCCREARY, VESELKA,
  1     THE COUNTY OF HAYS, TEXAS        BRAGG & ALLEN, P.C.               ATTN: TARA LEDAY          PO BOX 1269              ROUND ROCK TX         78680-1269 3/11/2019   SECURED                $5,604.30                    $5,604.30
        CONSOLIDATED EDISON                                                                          4 IRVING PLACE,
  2     COMPANY OF NEW YORK, INC         C/O BANKRUPTCY GROUP              ATTN: ENOBONG ENYENIHI    RM. 1875-S               NEW YORK      NY      10003      3/13/2019   UNSECURED              $1,117.36       $1,117.36
        NEW YORK DEPARTMENT OF                                                                                                                                             UNSECURED,
  3     TAXATION AND FINANCE             ATTN: BANKRUPTCY SECTION          PO BOX 5300                                        ALBANY        NY      12205-0300 3/18/2019   PRIORITY, SECURED   $276,971.39          $186.66 $276,777.98           $6.75
  4     LAZARUS & LAZARUS PC             240 MADISON AVE 8TH FLOOR                                                            NEW YORK      NY      10016      3/18/2019   UNSECURED           WITHDRAWN
                                         FULTON COUNTY TAX
  5     FULTON COUNTY TAX COMMISSIONER   COMMISSIONER'S OFFICE             141 PRYOR ST              SUITE 1106               ATLANTA     GA        30303      3/26/2019   PRIORITY               $6,506.01                                   $6,506.01
  6     COLUMBIA GAS OF MASSACHUSETTS    PO BOX 2025                                                                          SPRINGFIELD MA        01102      3/25/2019   UNSECURED                $206.21         $206.21
  7     FIREKING SECURITY GROUP          101 SECURITY PKWY                                                                    NEW ALBANY IN         47150      3/29/2019   UNSECURED              $2,689.59       $2,689.59
                                                                                                                                                                           UNSECURED,
  8     DEPARTMENT OF TAXATION           STATE OF HAWAII                   PO BOX 259                BK UNIT M ROBIDEAU HONOLULU            HI      96809      4/2/2019    PRIORITY            $4,883,295.00   $3,816,460.00               $1,066,835.00
        KETER ENVIRONMENTAL
  9     SERVICES, INC.                   4 HIGH RIDGE PARK                 SUITE 202                                          STAMFORD      CT      06905      4/2/2019    UNSECURED              $2,598.52       $2,598.52
 10     SOUTHERN CALIFORNIA EDISON       1551 W SAN BERNARDINO RD                                                             COVINA        CA      91722      4/2/2019    UNSECURED              $2,131.72       $2,131.72
 11     COUNTY OF ORANGE                 PO BOX 4515                                                                          SANTA ANA     CA      92702      4/8/2019    PRIORITY               $6,021.78                                   $6,021.78
        COMMONWEALTH OF KENTUCKY         ATTN: KENTUCKY DEPARTMENT
 12     DEPARTMENT OF REVENUE            OF REVENUE LEGAL SUPPORT BRANCH   PO BOX 5222                                        FRANKFORT     KY      40602      4/8/2019    UNSECURED              $3,043.71       $3,043.71




                                                                                                            In re: Diesel USA Inc.
                                                                                                              Case No.19-10432
                                                                                      Case 19-10432-MFW     Doc 118      Filed 04/15/19   Page 2 of 2

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